   Case 4:22-cr-00199-SHL-HCA Document 271-11 Filed 09/14/23 Page 1 of 1


From:            Storey, Lisa L.
To:              Dockendorff, Donald E. (ATF); Stely, Amy L. (ATF)
Cc:              Etnier, Kelly D. (ATF); Kelsey, Francis L.
Subject:         RE: Demo vs. Sale ?
Date:            Monday, March 28, 2022 11:24:20 AM


Good Morning,
I am finalizing 2 different lists for you –
1 will be the list of Machine Guns that BW Outfitters currently has in inventory (15) that were
acquired via Law Letter.
Adair Police Department Currently has 5 Machine Guns in their inventory that were acquired
via Law Letter.
So that is 20 Machine Guns. I will also have all the paperwork for each Machine gun.
To my knowledge a PD does not normally pay for the actually demo via cash…
Was the MG are acquired by a FFL there is no return if the PD decides not to purchase.
Amy is working GSB to obtain further information.
Lisa
618-304-8754
From: Dockendorff, Donald E. <Donald.Dockendorff@atf.gov>
Sent: Monday, March 28, 2022 10:11 AM
To: Stely, Amy L. <Amy.Stely@atf.gov>; Storey, Lisa L. <Lisa.Storey@atf.gov>
Cc: Etnier, Kelly D. <Kelly.Etnier@atf.gov>; Kelsey, Francis L. <Francis.Kelsey@atf.gov>
Subject: Demo vs. Sale ?
Good Morning,
In preparing our FFL memo to the SAC, I want to make sure I have the correct information with
regards to the # of machine guns ADAIR PD has on a law letter. Can one of you provide that to me.
The referral said 5. I just want to make sure that hasn’t changed. Secondly, how many have been
approved for a “Demo”? Following up on that, I need clarification as to:
       Does the PD pay for the Demo MG?
       Are they expected to return after a period of time?
       Have they ever, to our knowledge, returned any Demo MG’s?
Thanks for your help on this matter.
v/r

Doc
Don Dockendorff
Resident Agent in Charge
ATF – Iowa
210 Walnut Street
Suite 707
Des Moines, Ia 50309
(c) 571-238-8579




                                                                                               -


                                                                                               015696
